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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff/Respondent,
                                                       Case No. 05-80955-34
 v.                                                    Hon: AVERN COHN

 WAYNE DARNELL JOYNER,

      Defendant/Petitioner.
 ___________________________________/


         ORDER DENYING PETITIONER’S MOTION FOR RECONSIDERATION

                                             I.

        This is a criminal case. On August 21, 2008, defendant/petitioner Wayne Darnell

 Joyner (Joyner) was sentenced to a custody term of 168 months on his plea of guilty to

 violations of 21 U.S.C. §§841(a)(1), 841(b)(1)(A)(ii)(II) and 846. On August 7, 2009,

 Joyner filed a motion to vacate under 28 U.S.C. § 2255. Joyner raised three claims: 1)

 he is innocent because the Court dismissed the counts he pled guilty to; (2) he received

 ineffective assistance of counsel because his counsel failed to present documents

 which would have shown that he had diplomatic immunity; and (3) the Court is not a

 proper Article III court.

        The Court denied the motion under §2255 for the reasons stated in the

 government’s response. See Order filed September 25, 2009.

        On October 6, 2009, Joyner filed a “Motion to the Clerk” and a “Motion for

 Amendment of Judgment.” In the Motion to the Clerk, Joyner said he did not receive a

 copy of the government’s response and requested a copy be mailed to him. The Court
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 granted the motion on October 14, 2009 and directed a copy of the government’s

 response be mailed to defendant. See Order filed October 14, 2009.

         In the Motion for Amendment of Judgment, Joyner asked the Court to

 “reconsider” denying his motion under § 2255 and again stated he did not receive a

 copy of the government’s response. The Court construed Joyner’s Motion for

 Amendment of Judgment as a motion for reconsideration and gave him ten (10) days

 from receipt of the government’s response to file a brief in support of his motion for

 reconsideration, explaining why his § 2255 motion has merit. On November 3, 2009,

 Joyner filed his brief.

                                              II.

         Joyner’s motion is governed by E.D. Mich LR 7.1(g), which provides in relevant

 part:

                 Generally, and without restricting the court’s discretion, the court
         will not grant motions for rehearing or reconsideration that merely present
         the same issues ruled upon by the court, either expressly or by
         implication. The movant must not only demonstrate a palpable defect by
         which the court and the parties have been misled but also show that
         correcting the defect will result in a different disposition of the case.

         Joyner fails to satisfy this standard. The Court has reviewed his brief and finds

 no error warranting reconsideration. As explained in the government’s response,

 Joyner’s claims lack merit and/or are unintelligible. Nothing in Joyner’s motion

 convinces the Court otherwise. Accordingly, the motion is DENIED.

         SO ORDERED.


 Dated: November 4, 2009                             s/ Avern Cohn
                                                    AVERN COHN
                                                    UNITED STATES DISTRICT JUDGE

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                              Order Denying Petitioner’s Motion for Reconsideration



                              CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing document was mailed to Wayne Darnell
 Joyner, #40683-039, FCI Lompoc, 3600 Guard Road, Lompoc, CA 93436 and the
 attorneys of record on this date, November 4, 2009, by electronic and/or ordinary mail.


                                           s/ Julie Owens
                                          Case Manager, (313) 234-5160




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